

Matter of Berrigan (2020 NY Slip Op 02525)





Matter of Berrigan


2020 NY Slip Op 02525


Decided on April 30, 2020


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 30, 2020

PM-68-20

[*1]In the Matter of Joseph James Berrigan, an Attorney. (Attorney Registration No. 5312459.)

Calendar Date: April 20, 2020

Before: Garry, P.J., Clark, Mulvey, Aarons and Pritzker, JJ.


Joseph James Berrigan, Savannah, Georgia, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Joseph James Berrigan was admitted to practice by this Court in 2015 and lists a business address in Savannah, Georgia with the Office of Court Administration. Berrigan now seeks leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application by correspondence from its Chief Attorney.
As is noted by AGC, Berrigan is presently delinquent in his New York attorney registration requirements, having failed to register for two consecutive biennial periods beginning in 2017 (see Judiciary Law § 468-a; Rules of the Chief Admin of Cts [22 NYCRR] § 118.1). Inasmuch as Berrigan is therefore subject to potential disciplinary action (see Judiciary Law § 468-a [5]; Rules of Professional Conduct [22 NYCRR 1200.0] rule 8.4 [d]; see also Matter of Attorneys in Violation of Judiciary Law § 468-a, 113 AD3d 1020, 1021 [2014]), he is ineligible for nondisciplinary resignation and his application must be denied (see Matter of Cluff, 148 AD3d 1346, 1346 [2017]; Matter of Bomba, 146 AD3d 1226, 1226-1227 [2017]). Further, any future application by Berrigan must be supported by proof of his full satisfaction of the requirements of Judiciary Law § 468-a and Rules of the Chief Administrator of the Courts (22 NYCRR) § 118.1 (see Matter of Frank, 146 AD3d 1228, 1228-1229 [2017]).
Garry, P.J., Clark, Mulvey, Aarons and Pritzker, JJ., concur.
ORDERED that Joseph James Berrigan's application for permission to resign is denied.








